Case 2:16-cv-02805-MCA-LDW Document 237 Filed 11/29/19 Page 1 of 3 PageID: 10595




                                                      Liberty Square Building
                                                      450 5th Street, NW
                                                      Washington, DC 20001


                                                      November 29, 2019

     The Honorable Leda Dunn Wettre
     United States District Court for the
     District of New Jersey
     Martin Luther King Building & U.S. Courthouse
     50 Walnut Street
     Newark, NJ 07101

         Re:   Roofer’s Pension Fund v. Perrigo Company, plc, et al., No. 16-CV-02805-
               MCA-LDW1 Request to Redact and Seal Confidential Information

     Dear Judge Wettre:

            Pursuant to Local Civil Rule 5.3(g), the United States respectfully requests that
     any information contained in the Declaration of Ryan Danks, filed ex parte and in
     camera with the Court on November 15, 2019, that was discussed on the record during
     the November 25, 2019 status conference be redacted and sealed. Without having
     reviewed the transcript, the instance recalled by the United States is that the names of
     some individuals, whose depositions are currently stayed under the Court’s Order on
     October 16, 2019 (“October Order”), were disclosed on the record during the conference.

             The United States’ request to redact and seal confidential information from the
     transcript, for the reasons discussed below, overcomes the presumption in favor of public
     access to judicial proceedings and records. See In re Cedant Corp., 260 F.3d 183, 194 (3d

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       The United States further requests that if the Court grants its request to redact and seal
     the confidential information in the transcript from the November 25 status conference,
     that it is also granted across the Individual Actions: Carmignac Gestion, S.A. v. Perrigo
     Company plc, et al., No. 2:17-cv-10467-MCA-LDW, Manning & Napier Advisors, LLC
     v. Perrigo Company plc, et al., No. 2:18-cv-674-MCA-LDW, Mason Capital L.P., et al.
     v. Perrigo Co. plc, et al., No. 2:18-cv-1119-MCA-LDW, Pentwater Equity Opportunities
     Master Fund Ltd., et al. v. Perrigo Co. plc, et al., 2:18-cv-1121-MCA-LDW, Harel
     Insurance Company, Ltd., et al. v. Perrigo Company plc, et al., 2:18-cv-02074-MCA-
     LDW, First Manhattan Co. v. Perrigo Company plc, et al., No. 2:18-cv-02291-MCA-
     LDW, TIAA-CREF Investment Management, LLC, et al. v. Perrigo Company plc, et al.,
     No. 2:18-cv-08175-MCA-LDW, Nationwide Mutual Funds, et al. v. Perrigo Company
     plc, et al., No. 2:18-cv-15382-MCA-LDW, WCM Alternatives: Event-Driven Fund, et al.
     v. Perrigo Co., plc, et al., No. 2:18-cv-16204-MCA-LDW, Hudson Bay Master Fund
     Ltd., et al. v. Perrigo Co., plc, et al., No. 2:18-cv-16206-MCA-LDW, Schwab Capital
     Trust, et al. v. Perrigo Co. plc, et al., No. 2:19-cv-03973-MCA-LDW, OZ Master Fund,
     Ltd., et al. v. Perrigo Co., plc, et al., 2:19-cv-04900-MCA-LDW, Aberdeen Canada
     Funds-Global Equity Fund, et al. v. Perrigo Co. plc, et al.,
     No. 2:19-cv-06560-MCA-LDW.
Case 2:16-cv-02805-MCA-LDW Document 237 Filed 11/29/19 Page 2 of 3 PageID: 10596
     Cir. 2001). The Court may grant a motion to seal court records when “the moving party’s
     interest to seal documents outweighs the public’s interest in disclosing the information.”
     See China Falcon Flying Limited v. Dissault Falcon Jet Corp., No. 15-6210, 2017 WL
     3718108, at *2 (D.N.J. Aug. 29, 2017) (citations omitted). In balancing those interests,
     Local Civil Rule 5.3(c)(3) identifies six factors as relevant: (1) the nature of the materials
     or proceedings at issue; (2) the legitimate private or public interest which warrants the
     relief sought; (3) the clearly defined and serious injury that would result if the relief
     sought is not granted; (4) why a less restrictive alternative to the relief sought is not
     available; (5) any prior order sealing the same materials in the pending action; and (6) the
     identity of any party or nonparty known to be objecting to the sealing request. As set
     forth below, these factors support granting the United States’ request to redact and seal
     the confidential information disclosed during the November 25 status conference.

     The Nature of the Materials or Proceeding at Issue

             “To demonstrate the first factor, [a movant] is required to provide a detailed
     description of the documents it wishes to seal.” China Falcon, at *2 (citing Horizon
     Pharma AG v. Watson Laboratories Inc., No. 13-5124, 2015 WL 12859244, at *1 (D.N.J.
     Sept. 14, 2015)). The United States seeks to redact and seal the names of the individuals,
     listed by a counsel for plaintiffs in the above-captioned action during the status
     conference, whose depositions are currently stayed under the October Order (the
     “Confidential Information”). See ECF No. 220 ¶ 3; see also Declaration of Ryan Danks ¶
     12, filed ex parte and in camera, November 15, 2019 (“Danks Declaration”).

     Legitimate Private or Public Interests Warrant the Relief Sought

              The Confidential Information the United States seeks to redact and seal contains
     and/or relates to information about the United States’ pending investigation into possible
     violations of the federal antitrust laws in the generic pharmaceutical industry. As further
     discussed below, public disclosure of the information sought to be sealed could cause
     significant harm to the United States’ investigation. This Court has discretion to balance
     the factors for and against access to court documents and has exercised this authority in a
     variety of contexts. See Pansy v. Borough of Stroudsburg, 23 F.3d 772, 781 (3d Cir.
     1994). Courts are also empowered to protect the public and private interests by limiting
     access to confidential material disclosed in conjunction with the discovery in civil
     litigation. See, e.g., Seattle Times Co. v. Rhinehart, 467 U.S. 20, 35 (1984) (noting the
     government has a “substantial interest” in preventing an abuse of its process that results
     in the release of information that could be damaging to reputation and privacy).

            The United States provided the Confidential Information to the parties in the
     above-captioned action and in the Individual Actions (hereinafter the “parties”) as part of
     a compromise to limit the impact of the October Order on discovery and allow certain
     additional depositions to proceed. While this information was shared with the parties, the
     United States views it as confidential and not to be made publicly available because it
     could reveal the scope and focus of an ongoing investigation and could be damaging to
     the reputation and privacy interests of the named individuals. The United States also
     informed the parties prior to the scheduling conference that it views this information as
     confidential. Consideration of the public and private interests advanced by the United
     States weighs in favor of redacting and sealing the Confidential Information.

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Case 2:16-cv-02805-MCA-LDW Document 237 Filed 11/29/19 Page 3 of 3 PageID: 10597
     Clearly Defined and Serious Injury Would Result if the Relief Sought Is Not Granted

             The United States seeks to redact and seal the Confidential Information because it
     could compromise the integrity of the United States’ criminal investigation. As stated
     above, public disclosure of the Confidential Information could interfere with and impede
     the United States’ criminal investigation. See also Danks Declaration ¶¶ 7–9. Through
     the requested redaction, the United States seeks to mitigate all of the foregoing potential
     harm, and such protection does not interfere with any legitimate public interest in access
     to the information sought to be redacted.

     A Less Restrictive Alternative to the Relief Sought is Not Available

             Under Local Civil Rule 5.3(c)(3), parties seeking to seal documents must show
     that no less restrictive alternative to the relief sought is available. The sealing of
     confidential information in a court transcript is an accepted practice in the District of
     New Jersey, see, e.g., Techfields Pharma Co., Ltd. v. Covance Inc., No. 16-1148, 2019
     WL 2478109, at * 3 (D.N.J. June 13, 2019), and courts have endorsed the use of
     “minimal and tailored redactions” to protect confidential information, see, e.g., China
     Falcon, at *4. The United States’ request to redact and seal the Confidential Information
     is narrowly tailored to the specific information identified above, and is necessary to
     protect its interests. The limited and specific redaction allows for the public disclosure of
     the remainder of the transcript and no less restrictive alternative is available to protect the
     United States’ legitimate interests.

     The United States is Unaware of Any Party Objecting to the Sealing Request

            The United States, via e-mail, confirmed that class plaintiffs in the above-
     captioned action take no position regarding the United States’ request to redact and seal
     the Confidential Information, and that the defendants, and the plaintiffs in the Individual
     Actions, do not object to the United States’ request to seal.

     Conclusion2

            The United States respectfully requests the Court redact and seal the Confidential
     Information based on consideration of the factors under Local Civil Rule 5.3(c), which
     strongly favor sealing the confidential information described above.

                                                  Respectfully submitted,
                                                  /s Elizabeth A. Gudis
                                                  Elizabeth A. Gudis
                                                  Nathan D. Brenner
                                                  Trial Attorneys
                                                  U.S. Department of Justice, Antitrust Division
                                                  Counsel for Intervenor-United States

     cc via ECF:    Counsel for All Parties

     2
      With regard to the fifth factor of Local Civil Rule 5.3(c)(3), there are no prior orders to
     seal the same materials in the pending action.
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